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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON

                                                                Civil Case No. 15-cv-01857-BR
Lori Wakefield, individually and on behalf of all
others similarly situated,
                                                                 APPLICATION FOR SPECIAL
        Plaintiff(s),                                            ADMISSION -PRO HAG VICE
v.
ViSalus, Inc., a Nevada corporation


        Defendant(s).



        Attorney _S_t_ef_a_n_C_o_l_em_a_n_ _ _ _ _ _ _ _ _ _ requests special admission pro hac vice in
the above-captioned case.

Certification of Attorney Seeking Pro Hae Vice Admission: I have read and understand the
requirements of LR 83-3, and certify that the following information is correct:

        (1)     PERSONAL DATA:
                Name: Coleman                          Stefan                       L
                         (Last Name)                  (First Name)                 (MI)         {Stiffix)
                Firm or Business Affiliation: Law Offices of Stefan Coleman, LLC
                Mailing Address:           201 S. Biscayne Blvd, 28th Floor
                City: Miami                                 State: Florida          Zip: 33131

                Phone Number: 877 -333 -9427                                       888-498-8946
                                   ------------ Fax Number: ----------
                Business E-mail Address: law@stefancoleman.com
                                             ---------------------~




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        (2)     BAR ADMISSIONS INFORMATION:
                (a)       State bar admission(s), date(s) of admission, and bar ID number(s):
                          Florida 10/9/2006 #0030188
                          New Jersey 6/1 I 2009 #000382009
                          New York 6/23/2009 #4734091

                (b)      Other federal court admission(s), date(s) of admission, and bar ID number(s):
                         Colorado Dist Ct 2009; Districts of Florida 2009 and 201 O; District of
                          Columbia 2008; Districts of lllionois 2009; Districts of New York 2009;
                          District of NJ 2009; Western Dist of Michigan 2009

        (3)     CERTIFICATION OF DISCIPLINARY ACTIONS:
                (a)     !!] I am not now, nor have I ever been subject to any disciplinary action by any
                          state or federal bar association; or

                (b)     C I am now or have been subject to disciplinary action from a state or federal bar
                          association. (See attached letter of explanation.)

        (4)     CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                I have professional liability insurance, or financial responsibility equivalent to liability
                insurance, that will apply and remain in force for the duration of the case, including any
                appeal proceedings.

       (5)      REPRESENTATION STATEMENT:
                I am representing the following party(s) in this case:
                 Plaintiff, Lori Wakefield




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        (6)       CM/ECF REGfSTRATION:
                  Concurrent with approval of this pro hac vice application, I acknowledge that I will
                  become a registered user of the Court's Case Management/Electronic Case File system.
                  (See the Court's website at ord.uscourts.gov), and I consent to electronic service pursuant
                  to Fed. R. Civ. P 5(b)(2)(E) and the Local Rules of the District of Oregon.

        DA TED this 22nd           day of October                   2015



                                                               (Signature oj Pro Hae Co1111sd)

                                                               Stefan Coleman
                                                               (Typt•tl Nanw)

CERTIFICATION OF ASSOCIATED LOCAL COUNSEL:
1 certify that I am a member in good standing of the bar of this Court, that 1 have read and understand the
requirements of LR 83-3, and that 1 will serve as designated local counsel in this particular case.

        DATED this      1,]!"'1 dayof      Oof                 , ::LJ:)\)
                                                                ~~
                                                               (Sig11a/UJ'(' (~/1,ocal Cmmsd)


Name; Kocher                                        Scott                                            F
        (U1s1 Name)                                 (Firs/ Naml!)                                   fMJ)          (S1!f./ix)

Oregon State Bar Number:     _#0_1_5_o_a_a________________________
Firm or Business Affiliation: Forum Law Group LLC
Mailing Address: 811 SW Naito Parkway Suite 420
City: Portland                                                      State: Oregon                Zip: 97204
Phone Number: (503) 445-2102                         Business E-mail Address: scotl@forumlawgroup.com
                  ----------~




                                             COURT ACTION


                          ~plication approved subject to payment offees.
                          D Application denied.

        DA TED this     ,£~ day of {Jlfv.-/NY, }_,-[; i (
                                                                    '

                                                               Judge




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